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                                                 39

 Fill in this information to identify the case:

                      Shoreview Holding LLC
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                       Western
 United States Bankruptcy Court f or the: _______________________ District of ________                          Texas
                                       25-10566
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                               Check if this is an
                                                                                                                                                                                                 amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                65,170,000
                                                                                                                                                                                              $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b. Total personal property:                                                                                                                                                               67,426,605.18
                                                                                                                                                                                              $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                 67,426,605.18
                                                                                                                                                                                              $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................
                                                                                                                                                                                                 51,100,000
                                                                                                                                                                                              $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                0
                                                                                                                                                                                              $ ________________
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................

     3b. Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................
                                                                                                                                                                                                211,999.99
                                                                                                                                                                                            + $ ________________



4.   Total liabilities...................................................................................................................................................................
                                                                                                                                                                                              $ 51,311,999.99
                                                                                                                                                                                                ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                page 1
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                                               39
  Fill in this information to identify the case:

               Shoreview Holdings LLC
  Debtor name __________________________________________________________________

                                                  Western                    Texas
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                              (State)
  Case number (If known):     25-10566
                             _________________________                                                                                Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:    Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                 Type of account                 Last 4 digits of account number
         Flagstar Bank
   3.1. _________________________________________________ DACA
                                                          ______________________
                                                                                               9926
                                                                                               ____ ____ ____ ____                  478,394.62 as of 4/24/2025
                                                                                                                                  $______________________
         Wells Fargo
   3.2. _________________________________________________ CMA (lender controlled)
                                                          ______________________               7313
                                                                                                ____ ____ ____ ____                 1,218,969.29
                                                                                                                                  $______________________


4. Other cash equivalents (Identify all)
         Bank of America                                   Operating Account           6881                                        18,460.81
   4.1. _____________________________________________________________________________________________________                     $______________________
         Bank of America                                   Tenant Security Deposit     6894
   4.2. _____________________________________________________________________________________________________                      59781.50
                                                                                                                                  $______________________

5. Total of Part 1                                                                                                                   1,775,606.22
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:    Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
   7.1. ________________________________________________________________________________________________________                   $______________________
        Utility Deposit
   7.2._________________________________________________________________________________________________________                          22,742.00
                                                                                                                                   $_______________________


  Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                                  page 1
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Debtor        Shoreview Holdings LLC
             _______________________________________________________39                       25-10566
                                                                       Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
        Prepaid Insurance 4/30/25 BS
   8.1.___________________________________________________________________________________________________________                  167,336.05
                                                                                                                                  $______________________
        Prepaid Expenses
   8.2.___________________________________________________________________________________________________________                  2520.42
                                                                                                                                  $_______________________

9. Total of Part 2.
   Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                  192,598.47
                                                                                                                                 $______________________
                                                                                                                                   as of 04/24/2025

Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........                  .49
                                                                                                                                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:         0.00
                                  ___________________________ – ___________________________          = ........                  0
                                                                                                                                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                               .49
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 2
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Debtor        Shoreview Holdings LLC
             _______________________________________________________39                       25-10566
                                                                       Case number (if known)_____________________________________
               Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last     Net book value of     Valuation method used     Current value of
                                                    physical inventory   debtor's interest     for current value         debtor’s interest
                                                                         (Where available)
19. Raw materials
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________


23. Total of Part 5                                                                                                     $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value _______________            Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
Part 6:     Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                Net book value of     Valuation method used     Current value of debtor’s
                                                                         debtor's interest     for current value         interest
                                                                         (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________         $________________     ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________         $________________     ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________         $________________     ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________         $________________     ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________         $________________     ____________________    $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                          page 3
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Debtor        Shoreview Holdings LLC
             _______________________________________________________39                       25-10566
                                                                       Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:     Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________   ____________________     $______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
    see attached list
   ______________________________________________________________              $________________   fair market value
                                                                                                   ____________________      273,400
                                                                                                                            $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                             273,400
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
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 Debtor        Shoreview Holdings LLC
              _______________________________________________________39                       25-10566
                                                                        Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________   ____________________    $______________________

   47.2___________________________________________________________          $________________   ____________________    $______________________

   47.3___________________________________________________________          $________________   ____________________    $______________________

   47.4___________________________________________________________          $________________   ____________________    $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________    ____________________    $______________________

   48.2__________________________________________________________          $________________    ____________________    $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________    ____________________    $______________________

   49.2__________________________________________________________          $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

    Trash Compactor Model ACE E 34 '2020
   ______________________________________________________________          $________________
                                                                                                 fair market value
                                                                                                ____________________     15,000.00
                                                                                                                        $______________________


51. Total of Part 8.                                                                                                     15,000.00
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
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Debtor        Shoreview Holdings LLC
             _______________________________________________________39                       25-10566
                                                                       Case number (if known)_____________________________________
               Name




Part 9:     Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
          1161 3rd Ave E Bradenton, FL 34208
    55.1________________________________________
                                                            TIC owner
                                                            _________________      68,600,000
                                                                                  $_______________
                                                                                                       BOV
                                                                                                       ____________________      95%
                                                                                                                                $_____________________

    55.2________________________________________            _________________     $_______________     ____________________     $_____________________

    55.3________________________________________            _________________     $_______________     ____________________     $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                             65,170,000
                                                                                                                                $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
     Yes. Fill in the information below.
   General description                                                           Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.
                                                                                                                                $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                            page 6
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Debtor        Shoreview Holdings LLC
             _______________________________________________________39                       25-10566
                                                                       Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
     Yes. Fill in the information below.
                                                                                                                                 Current value of
                                                                                                                                   debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                    _______________ –     __________________________         =   $_____________________
    ______________________________________________________
                                                                    Total face amount     doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                 $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                   $_____________________
   ____________________________________________________________                                                                   $_____________________

78. Total of Part 11.
                                                                                                                                   0
                                                                                                                                  $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 7
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Debtor        Shoreview Holdings LLC
             _______________________________________________________39                       25-10566
                                                                       Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                        Current value
                                                                                                      personal property                       of real property
                                                                                                           1,775,606.22
                                                                                                         $_______________
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.


81. Deposits and prepayments. Copy line 9, Part 2.                                                         192,598.47
                                                                                                         $_______________


82. Accounts receivable. Copy line 12, Part 3.
                                                                                                          .49
                                                                                                         $_______________

                                                                                                          0
                                                                                                         $_______________
83. Investments. Copy line 17, Part 4.
                                                                                                          0
                                                                                                         $_______________
84. Inventory. Copy line 23, Part 5.
                                                                                                          0
                                                                                                         $_______________
85. Farming and fishing-related assets. Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment; and collectibles.                                          273,400
                                                                                                         $_______________
     Copy line 43, Part 7.
                                                                                                          15,000.00
                                                                                                         $_______________
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

                                                                                                                                              65,170,000
88. Real property. Copy line 56, Part 9. . .....................................................................................            $________________

                                                                                                          0
                                                                                                         $_______________
89. Intangibles and intellectual property. Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.
                                                                                                       0
                                                                                                    + $_______________
                                                                                                           67,426,605.18                      0
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            + 91b. $________________


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................
                                                                                                                                                                   67,426,605.18
                                                                                                                                                                  $__________________




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                             page 8
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                                               39
  Fill in this information to identify the case:

              SHOREVIEW HOLDING LLC
  Debtor name __________________________________________________________________
                                          WESTERN
  United States Bankruptcy Court for the: ______________________             TEXAS
                                                                 District of _________
                                                                                        (State)
                                25-10566
  Case number (If known):      _________________________
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                              Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                               Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      PRIME FINANCE SHORT DURATION HOLDING COMPANY VII, LLC
     __________________________________________                              MULTI-FAMILY REAL ESTATE                          51,100,000
                                                                ___________________________________________________ $__________________
                                                                                                                                                        68,600,000
                                                                                                                                                      $_________________

    Creditor’s mailing address                                  ___________________________________________________

      155 N. WACKER DR STE 3600
     ________________________________________________________   ___________________________________________________
      CHICAGO, IL 60606
     ________________________________________________________   Describe the lien
                                                                  MORTGAGE LIEN
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes
                           12/15/2021
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                 No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number                   0378
                             ___ ___ ___ ___
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                         Contingent
     Yes. Specify each creditor, including this creditor,       Unliquidated
             and its relative priority.                          Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________                 ___________________________________________________ $__________________               $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                 No
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
             priority?                                           Disputed
         No. Specify each creditor, including this
                 creditor, and its relative priority.
                 _________________________________
                 _________________________________
            Yes. The relative priority of creditors is
                 specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                51,100,000
                                                                                                                               $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                            page 1 of ___
       25-10566-smr         Doc#91
              SHOREVIEW HOLDING LLC   Filed 05/23/25 Entered 05/23/25 22:58:10 Main25-10566     Document Pg 11 of
  Debtor    _______________________________________________________39 Case number (if known)_____________________________________
            Name



                                                                                                                              Column A                Column B
 Part 1:        Additional Page                                                                                               Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

     __________________________________________                 ___________________________________________________
                                                                                                                              $__________________     $_________________
                                                                ___________________________________________________
    Creditor’s mailing address
                                                                ___________________________________________________
     ________________________________________________________

     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
               priority?                                         Disputed
            No. Specify each creditor, including this
                    creditor, and its relative priority.
                    _______________________________
                    _______________________________
                    _______________________________

            Yes. The relative priority of creditors is
                    specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien


     __________________________________________
                                                                ___________________________________________________
                                                                                                                              $__________________     $_________________
    Creditor’s mailing address                                  ___________________________________________________

                                                                ___________________________________________________
     ________________________________________________________

     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
               priority?                                         Disputed
            No. Specify each creditor, including this
                    creditor, and its relative priority.
                    _______________________________
                    _______________________________
                    _______________________________

            Yes. The relative priority of creditors is
                    specified on lines _____



  Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___ of ___
         25-10566-smr Doc#91 Filed 05/23/25 Entered 05/23/25 22:58:10 Main Document Pg 12 of
                                                 39
Debtor
                  SHOREVIEW HOLDING LLC
                 _______________________________________________________                                                                        25-10566
                                                                                                                         Case number (if known)_____________________________________
                 Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                     On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                                                     did you enter the           account number
                                                                                                                                     related creditor?           for this entity
    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________


Form 206D                                Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                               page ___ of ___
        25-10566-smr Doc#91 Filed 05/23/25 Entered 05/23/25 22:58:10 Main Document Pg 13 of
   Fill in this information to identify the case: 39

   Debtor           Shoreview      Holding LLC
                    _________________________________________________________________

                                           Western
   United States Bankruptcy Court for the: ______________________             Texas
                                                                  District of __________
                                                                                              (State)
   Case number        25-10566
                     ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
     Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of ___
         25-10566-smr
               Shoreview   Doc#91
                              HoldingFiledLLC05/23/25 Entered 05/23/25 22:58:10          Main25-10566
                                                                                                  Document Pg 14 of
  Debtor      _______________________________________________________   Case number (if known)_____________________________________
              Name                                                   39
 Part 1.       Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Total claim              Priority amount



2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
        _________________________________________________________________
                                                                             Contingent
                                                                             Unliquidated
       ___________________________________________                           Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)


2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
                                                                             Contingent
                                                                             Unliquidated
        _________________________________________________________________

       ___________________________________________                           Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
        _________________________________________________________________    Contingent
       ___________________________________________
                                                                             Unliquidated
                                                                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________
       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

2._    Priority creditor’s name and mailing address
                                                                            As of the petition filing date, the claim is: $______________________     $_________________
                                                                            Check all that apply.
        _________________________________________________________________    Contingent
       ___________________________________________                           Unliquidated
                                                                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)




      Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __ of ___
       25-10566-smr      Doc#91LLC
             Shoreview Holding        Filed 05/23/25 Entered 05/23/25 22:58:10 Main             Document Pg 15 of
                                                                                            25-10566
  Debtor    _______________________________________________________   Case number (if known)_____________________________________
            Name                                                   39
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    1,196.00
     4 Walls Inc.                                                Check all that apply.                                     $________________________________
    ____________________________________________________________
                                                                  Contingent
     P.O. Box 248                                                 Unliquidated
    ____________________________________________________________  Disputed
     Narberth, PA 19072
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            Jan - Apr 2025
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    197.79
     Alert 360                                                   Check all that apply.                                     $________________________________
    ____________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     2448 E 81st St - 42nd Floor
    ____________________________________________________________  Disputed
     Tulsa, OK 74137-4330
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            Nov 2024
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    13,117.33
     Ally Waste Services, LLC                                    Check all that apply.                                     $________________________________
    ____________________________________________________________
                                                                  Contingent
     2509 S. Power Rd, Ste 101   325 S Higley Rd, Ste 120         Unliquidated
    ____________________________________________________________  Disputed
     Gilbert, AZ 85296           Gilbert, AZ 85296
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred         Sep  2024 - Apr 2025
                                              ___________________          Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    1,475.99
     Audio Video Partners LLC                                              Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                            Contingent
     6301 Porter Rd, Suite 8                                                Unliquidated
    ____________________________________________________________            Disputed
     Sarasota, FL 34240
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

                                             Jan 2025                      Is the claim subject to offset?
    Date or dates debt was incurred            ___________________
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    950.00
     Camp Construction Services
    ____________________________________________________________
                                                                           Check all that apply.                           $________________________________
                                                                            Contingent
     15139 S Post Oak Rd
    ____________________________________________________________
                                                                            Unliquidated
                                                                            Disputed
     Houston, TX 77053
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            Feb - Mar 2025
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    6,860.01
     Casoro Group
    ____________________________________________________________
                                                                           Check all that apply.                           $________________________________
                                                                            Contingent
     9050 N. Capital of TX Hwy, Suite 320
    ____________________________________________________________
                                                                            Unliquidated
                                                                            Disputed
     Austin, TX 78759
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            Jan - Feb 2025
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __ of ___
  Debtor
             Shoreview
       25-10566-smr         HoldingFiled
                         Doc#91        LLC 05/23/25 Entered 05/23/25 22:58:10
            _______________________________________________________
                                                                                       Main     Document Pg 16 of
                                                                                              25-10566
                                                                      Case number (if known)_____________________________________
            Name                                                   39
Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  7 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     1,675.81
     Century/AAA DBA: AAA Supply                                 Check all that apply.                              $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
     590   West    84   Street                                    Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
      Hialeah, FL 33014
     ___________________________________________________________        disputed

                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred           Jan - Apr 2025 Is the claim subject to offset?
                                              ___________________
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes

  8 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    3,410.02
     Chadwell Supply, Inc.                                       Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     PO   Box  105172             5115 Joanne Kearny Blvd
     ___________________________________________________________  Disputed
      Atlanta, GA 30348           Tampa, FL 33619
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          Jan - Apr 2025 Is the claim subject to offset?
                                              ___________________
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes

  9 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    10,616.78
     Cintas Fire Protection (Cintas Corporation)                 Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                 PO  Box  636525                  Unliquidated
     6800   Cintas  Blvd
     ___________________________________________________________  Disputed
      Mason, OH 45263            Cincinnati, OH 45263
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred           Feb - Mar 2025
                                              ___________________   Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes

 10 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    75.00
      CommTow                (CommTow LLC)
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
     4821 US Hwy 19                                               Unliquidated
                                 1301 29th Ave W
     ___________________________________________________________  Disputed
      Palmetto, FL 34221          Bradenton, FL 34205
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Nov 2024   - Mar 2025 Is the claim subject to offset?
                                            ___________________
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes


 11 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    240.75
      Controlled Entry Distributors, Inc Dba Community Controls Check all that apply.
     ___________________________________________________________
                                                                                                                    $________________________________
                                                                  Contingent
                                                                  Unliquidated
     2480 Sount 3850 West, Suite A
     ___________________________________________________________  Disputed
      Salt Lake City, UT 84120
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          Jan - Feb 2025
                                              ___________________   Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes




   Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __ of ___
  Debtor
              Shoreview
       25-10566-smr          Holding
                         Doc#91          LLC05/23/25 Entered 05/23/25 22:58:10
                                      Filed
            _______________________________________________________
                                                                                       Main25-10566
                                                                                                Document Pg 17 of
                                                                      Case number (if known)_____________________________________
            Name                                                   39
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  12 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     8,076.00
     CoStar Realty Information, Inc.                             Check all that apply.                              $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
     2563    Collection     Center    Dr                          Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
      Chicago, IL 60693
     ___________________________________________________________        disputed

                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred        June  - Sep 2024
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

 13 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    84.00
     CredBuild                                                   Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     1101 W 34th St              1809 Pearl St
     ___________________________________________________________  Disputed
      Austin, TX 78705           Austin, TX 78701
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Feb - Apr 2025 Is the claim subject to offset?
                                             ___________________
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

 14 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    4,878.00
     Crown Roofing LLC                                           Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                     Contingent
                                                                     Unliquidated
     240 Field End St
     ___________________________________________________________  Disputed
      Sarasota, FL 34240
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Nov 2024
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

 15 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    2,700.00
      EPLUS Services LLC
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
     30103 Skylark Dr                                             Unliquidated
     ___________________________________________________________  Disputed
      Wesley Chapel, FL 33545
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Jan - Apr 2025 Is the claim subject to offset?
                                             ___________________
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes


  16 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    779.12
      Ferguson Enterprises, Inc.
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
                                                                  Unliquidated
     12500 Jefferson Ave
     ___________________________________________________________  Disputed
      Newport News, VA 23602
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Jan - Mar 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page __ of ___
  Debtor
            ShoreviewDoc#91
       25-10566-smr         HoldingFiled
                                       LLC 05/23/25 Entered 05/23/25 22:58:10
            _______________________________________________________
                                                                                       Main25-10566
                                                                                                Document Pg 18 of
                                                                      Case number (if known)_____________________________________
            Name                                                   39
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  17 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     28,126.21
     Flanagan Bilton, LLC                                        Check all that apply.                              $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
     1  N  La  Salle   St,  Ste  2100                             Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
      Chicago, IL 60602
     ___________________________________________________________        disputed

                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Feb - Mar 2025 Is the claim subject to offset?
                                             ___________________
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  18 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    7,086.59
     Sherwin Williams (Flooring)                                 Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     101 W Prospect Ave
     ___________________________________________________________  Disputed
      Cleveland, OH 44115
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Feb - Apr 2025 Is the claim subject to offset?
                                             ___________________
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  19 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    753.59
     GE Appliances                                               Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     4000   Buechel   Bank  Rd     PO   Box  640025
     ___________________________________________________________  Disputed
      Louisville, KY 40225         Pittsburgh, PA 15264
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Nov 2024  - Apr 2025
                                           ___________________      Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  20 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    872.00
      Glass Doctor of Tampa Bay
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
     PO Box 271429                                                Unliquidated
     ___________________________________________________________  Disputed
      Tampa, FL 33688
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Jan 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes


  21 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    8,515.00
      Group Fenix LLC
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
                                                                  Unliquidated
     9024 Hogans Bend
     ___________________________________________________________  Disputed
      Tampa, FL 33647
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Feb - Apr 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  22 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     1,388.78
     HD Supply Facilities Maintenance, LTD.                      Check all that apply.                              $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
     3400    Cumberland        Blvd   SE                          Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
      Atlanta, GA 30339
     ___________________________________________________________        disputed

                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Jan - Mar 2024 Is the claim subject to offset?
                                             ___________________
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  23 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    1,581.00
     Horticultural Management Industries                         Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     PO Box 1374
     ___________________________________________________________  Disputed
      Brandon, FL 33509
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Feb - Mar 2025 Is the claim subject to offset?
                                             ___________________
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  24 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    800.00
     I4 Waste Valet & Recycling "L.L.C"                          Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                     Contingent
                                                                     Unliquidated
     7802 Kingspointe Pkwy 209
     ___________________________________________________________  Disputed
      Orlando, FL 32819
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Jun - Jul 2024
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

 25 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    91.59
      ICO Companies, Inc. DBA ICO Uniforms
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
     1605 NW 159 St                                               Unliquidated
     ___________________________________________________________  Disputed
      Miami Gardens, FL 33169
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Mar 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes


 26 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    762.00
      JobCall, Inc.
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
                                                                  Unliquidated
     630 Bridgepoint Pkwy, Suite 500
     ___________________________________________________________  Disputed
      Austin, TX 78730
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Nov ___________________
                                           2024 - Apr 2025          Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  27 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     1,088.73
     Kings III of America, Inc.                                  Check all that apply.                              $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
     751   Canyon      Dr,  Suite   100                           Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
      Coppell, TX 75019
     ___________________________________________________________        disputed

                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Dec 2024
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  28 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    1,003.00
     Landlord Legal P.A.                                         Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     927 Washington St
     ___________________________________________________________  Disputed
      Hollywood, FL 33019
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Jan 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  29 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    1,532.32
     Leaselock Insurance Services, Inc.                          Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                     Contingent
                                                                     Unliquidated
     5050 Quorum Dr, Suite 700
     ___________________________________________________________  Disputed
      Dallas, TX 75254
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Apr 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

 30 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    611.51
      Leaselock, Inc.
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
     480 Washington Blvd                                          Unliquidated
     ___________________________________________________________  Disputed
      Marina Del Ray, CA 90292
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Apr 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes


  31 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    1,050.00
      LIVunLtd (Fomer Heartline Fitness Systems)
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
                                                                  Unliquidated
     7520 Standish Pl, Suite 250
     ___________________________________________________________  Disputed
      Rockville, MD 20855
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred Nov 2024  - Apr 2025
                                          ___________________       Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


 32 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     5,358.00
     Matrix Turnkey, Inc.                                        Check all that apply.                              $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
     PO    Box   4124                                             Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
      Brandon, GL 33509
     ___________________________________________________________        disputed

                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Jan - Apr 2025 Is the claim subject to offset?
                                             ___________________
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes


  33 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    15,150.00
     McCarthy, Rose & Mills, LLP                                 Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     3001 Dallas Pkwy Suite 750
     ___________________________________________________________  Disputed
      Frisco, TX 75034
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Apr 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  34 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    2,138.40
     Elise AI Technologies Corp Dba MeetElise                    Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                     Contingent
                                                                     Unliquidated
     PO Box 8084
     ___________________________________________________________  Disputed
      Carol Stream, IL 60197
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Jan - Apr 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

 35 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    6,550.00
      Michael's Fence
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
     2523 W Knollwood St                                          Unliquidated
     ___________________________________________________________  Disputed
      Tampa, FL 33614
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Mar 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes


 36 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    1,103.84
      National Apartment Association
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
                                                                  Unliquidated
     PO Box 716450
     ___________________________________________________________  Disputed
      Philadelphia, PA 19171
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Mar 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


 37 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     387.96
     National Exemption Service, LLC                             Check all that apply.                              $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
     604   Packard      Court,   Suite   A                        Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
      Safety Harbor, FL 34695
     ___________________________________________________________        disputed

                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         June 2024
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

 38 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    673.92
     Not1bug Pest Solutions                                      Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     4880 Windsor Landing Unit 109
     ___________________________________________________________  Disputed
      Fort Meyers, FL 33966
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Feb - Apr 2025 Is the claim subject to offset?
                                             ___________________
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  39 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    679.03
     Parcel Pending, Inc.                                        Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                     Contingent
                                                                     Unliquidated
     PO Box 123689, Dept 3689
     ___________________________________________________________  Disputed
      Dallas, CA 75312
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Dec 2024   - Mar 2025 Is the claim subject to offset?
                                           ___________________
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

 40 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    5,123.21
      Precision Gate & Security, Inc.
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
     350 W Venice Ave. #153                                       Unliquidated
     ___________________________________________________________  Disputed
      Venice, FL 34285
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Feb 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes


  41 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    326.60
      ProofUp
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
                                                                  Unliquidated
     1101 W 34th St, PO Box 301
     ___________________________________________________________  Disputed
      Austin, TX 78705
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Apr 2024   - Apr 2025
                                           ___________________      Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


 42 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     658.80
     Radix Software, Inc.                                        Check all that apply.                              $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
     7150    E  Camelback       Rd   Suite   333                  Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
      Scottsdale, AZ 85215
     ___________________________________________________________        disputed

                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                       Nov 2024   - Apr 2025 Is the claim subject to offset?
                                            ___________________
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes

 43 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    124.89
     Rentable                                                    Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     PO Box 7640
     ___________________________________________________________  Disputed
      Madison, WI 53707
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred        Feb  - Apr 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes

 44 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    117.00
     ResMan LLC                                                  Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                     Contingent
                                                                     Unliquidated
     2035 Lakeside Centre Way, Ste 250
     ___________________________________________________________  Disputed
      Knoxville, TN 37922
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          March 2025
                                              ___________________   Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes

  45 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    6,201.47
      Right Way Elevator Maintenance
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
     9790 16th St North St                                        Unliquidated
     ___________________________________________________________  Disputed
      St. Petersburgh, FL 33716
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Dec 2024   - Apr 2025 Is the claim subject to offset?
                                           ___________________
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes


 46 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    759.82
      SafeRent Solutions, LLC
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
                                                                  Unliquidated
     4600 Regent Blvd, Ste 150
     ___________________________________________________________  Disputed
      Irvine, TX 75063
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          Jan - Apr 2025
                                              ___________________   Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


 47 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     1,428.00
     Same Day Plumbng & Air Professional Corp                    Check all that apply.                              $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
     4813    73rd   st E                                          Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
      Palmetto, FL 34221
     ___________________________________________________________        disputed

                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          Jan - Feb 2025 Is the claim subject to offset?
                                              ___________________
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes

 48 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    13,210.00
     Sapphire Cleaning LLC                                       Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     1014 24th St E
     ___________________________________________________________  Disputed
      Palmetto, FL 34221
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          Feb - Apr 2025 Is the claim subject to offset?
                                              ___________________
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes

 49 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    1,590.00
     Sprinklermatic Fire Protection Systems, Inc.                Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                     Contingent
                                                                     Unliquidated
     4740 Davie Rd
     ___________________________________________________________  Disputed
      Davie, FL 33314
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          Dec 2024
                                              ___________________   Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes

 50 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    584.56
      Staples Business Advantage
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
     PO Box 660409                                                Unliquidated
     ___________________________________________________________  Disputed
      Dallas, TX 75266
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Dec 2024   - Mar 2025 Is the claim subject to offset?
                                            ___________________
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes


  51 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    3,750.00
      Street Digital Media LLC
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
                                                                  Unliquidated
     1008 Burnside Ln NW
     ___________________________________________________________  Disputed
      Atlanta, GA 30318
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          Feb - Apr 2025
                                              ___________________   Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes




   Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __ of ___
            ShoreviewDoc#91
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                                                                                                Document Pg 25 of
  Debtor    _______________________________________________________   Case number (if known)_____________________________________
            Name                                                   39
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


 52 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     2,049.00
     Superpool Services                                          Check all that apply.                              $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
     PO    Box   110393                                           Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
      Bradenton, FL 34211
     ___________________________________________________________        disputed

                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Jan - Mar 2025 Is the claim subject to offset?
                                             ___________________
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  53 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    1,701.76
     The Sherwin Williams Company                                Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     PO Box 277499
     ___________________________________________________________  Disputed
      Atlanta, GA 30384
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Jan - Apr 2025 Is the claim subject to offset?
                                             ___________________
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

 54 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    3,691.25
     Tower Compactor Rentals, LLC                                Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                     Contingent
                                                                     Unliquidated
     6910 E. Chauncey Ln Suite 130
     ___________________________________________________________  Disputed
     ***21040   N Pima Rd, Scottsdale, AZ 85255
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Nov 2024   - Apr 2025
                                            ___________________     Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

 55 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    11,572.56
      Valet Living, LLC
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
     Dept 9791, PO Box 850001                                     Unliquidated
     ___________________________________________________________  Disputed
      Orlando, FL 32885
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         Feb - Sep 2024 Is the claim subject to offset?
                                             ___________________
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes


 56 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    250.00
      Bryant Maxwell
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed

     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Jun 2021   - Jun 2025
                                            ___________________     Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page __ of ___
  Debtor
               Shoreview
       25-10566-smr           Holding
                         Doc#91          LLC05/23/25 Entered 05/23/25 22:58:10
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            _______________________________________________________
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                                                                      Case number (if known)_____________________________________
            Name                                                   39
Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


 57 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     750.00
     Molly Lipovsky                                              Check all that apply.                              $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
     ___________________________________________________________        disputed

                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred     Jul 2024   - Jul 2025 Is the claim subject to offset?
                                             ___________________
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes

 58 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    250.00
     Secilia Rujawitz/Tara Rujawitz                              Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed

     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Dec 2022   - May 2025
                                            ___________________     Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes

 59 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    750.00
     Maria Leon                                                  Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed

     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   May 2024   - May 2025
                                            ___________________     Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes

 60 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    250.00
      Nancy and Robert Brown
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Oct 2021  - Jul 2025
                                            ___________________     Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes


 61 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    750.00
      Jennifer Evans and Salvador Rubio
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred    Nov 2023   - Aug 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes




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  Debtor    _______________________________________________________   Case number (if known)_____________________________________
            Name                                                   39
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


 62 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     750.00
     Evan Pilachowski and Jessica Strand                         Check all that apply.                              $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
     ___________________________________________________________        disputed

                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Mar 2024   - Jul 2025
                                            ___________________     Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  63 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    500.00
     Ambreen Haider and Joshua Kindler                           Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed

     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred    Jun 2023    - Jun 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

 64 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    750.00
     Sami Osman                                                  Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed

     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred    May ___________________
                                            2024 - Jun 2025 Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

 65 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    2,144.00
      Aagna Patel
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Jun 2024    - Jun 2025 Is the claim subject to offset?
                                            ___________________
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes


  66 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    2,084.00
      Kelly Steward
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Mar 2024  - Jun 2025
                                            ___________________     Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




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                              Holding Filed
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  Debtor    _______________________________________________________    Case number (if known)_____________________________________
            Name                                                   39
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


 67 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     750.00
     Olivia Fulton                                               Check all that apply.                              $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
     ___________________________________________________________        disputed

                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Sep 2024   - May 2025 Is the claim subject to offset?
                                             ___________________
                                                                     No
     Last 4 digits of account number           ___ ___ ___ ___       Yes

 68 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    750.00
     Ryan Julius                                                 Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed

     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   May 2024   - Jun 2025
                                            ___________________     Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number           ___ ___ ___ ___       Yes

 69 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    750.00
     Linda Kline and James Robinson                              Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed

     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred      Jul 2023   - May 2025 Is the claim subject to offset?
                                              ___________________
                                                                     No
     Last 4 digits of account number           ___ ___ ___ ___       Yes

  70 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    2,247.00
      Amanda Wirth and Connor Raible
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Feb 2025   - Dec 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number           ___ ___ ___ ___       Yes


  71 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    250.00
      Peter Dowd, Meghan Springer, Lisa Springer-Dowd
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred     Jan 2023  - Jul 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number           ___ ___ ___ ___       Yes




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  Debtor    _______________________________________________________   Case number (if known)_____________________________________
            Name                                                   39
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


 72 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     750.00
     Carol Brown                                                 Check all that apply.                              $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
     ___________________________________________________________        disputed

                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred   Feb 2025   - Sep 2025 Is the claim subject to offset?
                                            ___________________
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes

 73 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    750
     Lori Boykin and Robert Forney                               Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed

     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred    Jul 2023    - Jul 2025
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed

     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________   Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________   Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________   Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number          ___ ___ ___ ___        Yes




   Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __ of ___
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  Debtor        _______________________________________________________   Case number (if known)_____________________________________
                Name                                                   39
Part 3:              List Others to Be Notified About Unsecured Claims


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



            Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                               related creditor (if any) listed?          account number, if
                                                                                                                                                          any

4.1.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.2.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.3.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.4.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

41.                                                                                                            Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.                                                                                                          Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
                                                                                                               Line _____

                                                                                                               
         ___________________________________________________________________________________________________
                                                                                                                   Not listed. Explain ________________   ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




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               Name                                                   39
 Part 3:        Additional Page for Others to Be Notified About Unsecured Claims


          Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                             related creditor (if any) listed?          account number,
                                                                                                                                                        if any
4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________




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 Debtor     _______________________________________________________   Case number (if known)_____________________________________
            Name                                                   39
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                     Total of claim amounts



5a. Total claims from Part 1                                                               5a.
                                                                                                      0
                                                                                                     $_____________________________




                                                                                                      211,999.99
5b. Total claims from Part 2
                                                                                           5b.   +   $_____________________________




5c. Total of Parts 1 and 2
                                                                                           5c.
                                                                                                      211,999.99
                                                                                                     $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                 page __ of ___
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                                               39
 Fill in this information to identify the case:

             Shoreview Holding LLC
 Debtor name __________________________________________________________________

                                         Western
 United States Bankruptcy Court for the:______________________ District of    Texas
                                                                              _______
                                                                             (State)
 Case number (If known):     25-10566
                            _________________________               Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or       Alarm Monitoring
                                          ____________________________________            Alert360
                                                                                          _________________________________________________________
 2.1     lease is for and the nature
                                          ____________________________________           2448 E 81st St #4200
                                                                                         _________________________________________________________
         of the debtor’s interest
                                                                                           Tulsa, OK 74137
                                                                                          _________________________________________________________
         State the term remaining        N/A
                                         ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       Valet Trash Service
                                          ____________________________________            Ally Waste Services
                                                                                          _________________________________________________________
 2.2     lease is for and the nature
                                          ____________________________________           2509 S. Power Rd,Ste 101
                                                                                         _________________________________________________________
         of the debtor’s interest
                                                                                           Gilbert, AZ 85296
                                                                                          _________________________________________________________
         State the term remaining        75 months
                                         ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       Fire Protection Services
                                          ____________________________________            Cintas Fire Protection
                                                                                          _________________________________________________________
 2.3     lease is for and the nature
                                          ____________________________________           9318 Florida Palm Dr (Location F32)
                                                                                         _________________________________________________________
         of the debtor’s interest
                                                                                           Tampa, FL 33619
                                                                                          _________________________________________________________
         State the term remaining        N/A
                                         ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       Emergency Pool Phones
                                          ____________________________________                Kings III Emergency Communications
                                                                                          _________________________________________________________
 2.4
         lease is for and the nature
                                          ____________________________________           751 Canyon Dr, Ste 100
                                                                                         _________________________________________________________
         of the debtor’s interest
                                                                                           Coppell, TX 75019
                                                                                          _________________________________________________________
         State the term remaining        N/A
                                         ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       Utility Expense Management
                                          ____________________________________            National Exemption Service, LLC
                                                                                          _________________________________________________________
 2.5     lease is for and the nature
                                          ____________________________________           604 Packard Court, Suite A
                                                                                         _________________________________________________________
         of the debtor’s interest
                                                                                           Safety Harbor, FL 34695
                                                                                          _________________________________________________________
         State the term remaining        N/A
                                         ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                            page 1 of ___
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                                               39
Debtor          Shoreview Holding LLC
               _______________________________________________________                                      25-10566
                                                                                      Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or    Pest Control
                                       ____________________________________     Not1bug Pest Solutions
                                                                                _________________________________________________________
  6
 2._     lease is for and the nature                                            4880 Windsor Landing, Unit 109
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 Fort Meyers, FL 33966
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    Package Management
                                       ____________________________________     Parcel Pending, Inc
                                                                                _________________________________________________________
  7
 2._     lease is for and the nature
                                       ____________________________________     478 Wheelers Farms Rd
                                                                                _________________________________________________________
         of the debtor’s interest
                                                                                 Millford, CT 06461
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    Revenue Management
                                       ____________________________________     RealPage
                                                                                _________________________________________________________
  8
 2._     lease is for and the nature
                                       ____________________________________     2201 Lakeside Blvd
                                                                                _________________________________________________________
         of the debtor’s interest
                                                                                 Richardson, TX 75082
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    Compactor
                                       ____________________________________     Tower Compactor Rentals, LLC
                                                                                _________________________________________________________
  9
 2._     lease is for and the nature                                            6910 E Chauncey Lane Suite 130
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 Phoenix, AZ 85054
                                                                                _________________________________________________________
         State the term remaining      5 months
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    Property Management
                                       ____________________________________     ResProp Management Company LLC
                                                                                _________________________________________________________
  10 lease is for and the nature
 2._
                                       ____________________________________     1101 W 34th St, #323
                                                                                _________________________________________________________
         of the debtor’s interest
                                                                                 Austin, TX 78705
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    Asset Management
                                       ____________________________________     Casoro Group
                                                                                _________________________________________________________
  11
 2._     lease is for and the nature                                            9050 N Capital of TX Hwy, Suite 320
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 Austin, TX 78759
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    Mortgage Broker Agreement
                                       ____________________________________     Northmarq
                                                                                _________________________________________________________
   12 lease is for and the nature
 2._                                                                            8343 Douglas Ave, Suite 600
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 Dallas, TX 75225
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                    page ___ of ___
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                                               39
Debtor          Shoreview Holding LLC
               _______________________________________________________                                      25-10566
                                                                                      Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or    Landscaping
                                       ____________________________________     Jimaguas Landscaping and Tree Service
                                                                                _________________________________________________________
  13
 2._     lease is for and the nature
                                       ____________________________________     _________________________________________________________
         of the debtor’s interest
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    Google Advertising
                                       ____________________________________     Street Digital Media LLC
                                                                                _________________________________________________________
  14 lease is for and the nature
 2._
                                       ____________________________________     1008 Burnside Ln NW
                                                                                _________________________________________________________
         of the debtor’s interest
                                                                                 Atlanta, GA 30318
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    Property Tax Protest
                                       ____________________________________     Flanagan Bilton, LLC
                                                                                _________________________________________________________
  15 lease is for and the nature
 2._                                   Live Local Program Application
                                       ____________________________________     One North LaSalle Street, Suite 2100
                                                                                _________________________________________________________
         of the debtor’s interest
                                                                                 Chicago, IL 60602
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    Common Area/Office Electric
                                       ____________________________________     Florida Power & Light (FPL)
                                                                                _________________________________________________________
  16 lease is for and the nature
 2._                                                                            PO Box 025576
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 Miami, FL 33102
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    Natural Gas
                                       ____________________________________     Gas South
                                                                                _________________________________________________________
  17
 2._     lease is for and the nature                                            788 Circle 75 Pkwy
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 Atlanta, GA 30339
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    Water/Trash
                                       ____________________________________     City of Bradenton
                                                                                _________________________________________________________
  18 lease is for and the nature
 2._                                                                            101 12th St W
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 Bradenton, FL 34205
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    Gas
                                       ____________________________________     TECO Energy, Inc.
                                                                                _________________________________________________________
  19
 2._     lease is for and the nature                                            1898 Nuccio Pkwy
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 Tampa, FL 33605
         State the term remaining       N/A
                                       ____________________________________
                                                                                _________________________________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                    page ___ of ___
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                                               39
Debtor          Shoreview Holding LLC
               _______________________________________________________                                      25-10566
                                                                                      Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or    Office Phone/Internet
                                       ____________________________________     Charter Communications, Inc
                                                                                _________________________________________________________
  20
 2._     lease is for and the nature
                                       ____________________________________     400 Washington Blvd
                                                                                _________________________________________________________
         of the debtor’s interest
                                                                                 Stamford, CT 06902
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    Property Management Software
                                       ____________________________________     ResMan
                                                                                _________________________________________________________
  21 lease is for and the nature
 2._
                                       ____________________________________     2901 Dallas Pkwy #200
                                                                                _________________________________________________________
         of the debtor’s interest
                                                                                 Plano, TX 75093
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    Virtual Leasing Agent
                                       ____________________________________     Elise A.I Technologies Corp.
                                                                                _________________________________________________________
  22 lease
 2._       is for and the nature
     of the debtor’s interest          ____________________________________     33 E 33rd St, 2nd Floor
                                                                                _________________________________________________________
                                                                                 New York, NY, 10016
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    Elevator Maintenance
                                       ____________________________________     Right Way Elevator Maintenance
                                                                                _________________________________________________________
   23 lease is for and the nature
 2._                                                                            1343 Main Street, Suite 300
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 Sarasota, FL 34236
                                                                                _________________________________________________________
         State the term remaining      12 months
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    Fitness Equipment Maintenance
                                       ____________________________________     LIVunLtd (Fomer Heartline Fitness Systems)
                                                                                _________________________________________________________
   24 lease is for and the nature
 2._
                                       ____________________________________     9 E 40th St 7th Sl
                                                                                _________________________________________________________
         of the debtor’s interest
                                                                                 New York, NY 10016
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                    page ___ of ___
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                                               39
 Fill in this information to identify the case:


                 SHOREVIEW HOLDING LLC
 Debtor name __________________________________________________________________

                                         WESTERN
 United States Bankruptcy Court for the:_______________________             TEXAS
                                                                District of ________
                                                                                (State)
 Case number (If known):     25-10566
                            _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

 2.1
         PLF SHOREVIEW LLC
         _____________________        9050 N. CAPITAL TEXAS HWY 320
                                      ________________________________________________________                                                D                   
                                                                                                           _____________________
                                      Street                                                                                                 E/F
                                      ________________________________________________________
                                                                                                        PRIME FINANCE SHORT                   G
                                                                                                        DURATION HOLDING
                                       AUSTIN, TX 78759
                                      ________________________________________________________          COMPANY VII, LLC
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.2     MDW SHOREVIEW LLC
         _____________________        9050 N. CAPITAL TEXAS HWY 320
                                      ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                                                                                           PRIME FINANCE SHORT                G
                                      ________________________________________________________
                                                                                                           DURATION HOLDING
                                       AUSTIN, TX 78759
                                      ________________________________________________________             COMPANY VII, LLC
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.3     MONTE LEE-WEN
         _____________________        9050 N. CAPITAL TEXAS HWY 320
                                      ________________________________________________________             PRIME FINANCE SHORT
                                                                                                           _____________________              D
                                      Street                                                               DURATION HOLDING                  E/F
                                                                                                           COMPANY VII, LLC
                                      ________________________________________________________                                                G
                                       AUSTIN, TX 78759
                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.4     PAUL FEIKEMA &
         _____________________        8820 17TH AVENUE CIRCLE NW
                                      ________________________________________________________             PRIME FINANCE SHORT D
                                                                                                           _____________________
          LAUREN FEIKEMA              Street                                                               DURATION HOLDING E/F
                                      ________________________________________________________             COMPANY VII, LLC       G
                                       BRADENTON, FL 34209
                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.5      MEISHA WILSON
         _____________________
                                       1813 MANATEE AVE WEST
                                      ________________________________________________________             PRIME FINANCE SHORT                D
                                                                                                           _____________________
                                      Street                                                               DURATION HOLDING                  E/F
                                                                                                           COMPANY VII, LLC                   G
                                      ________________________________________________________
                                       BRADENTON, FL 34205
                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                         page 1 of ___
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             SHOREVIEW HOLDING LLC              39                     25-10566
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Additional Page if Debtor Has More Codebtors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                  Mailing address                                            Name
                                                                                                                             that apply:
                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code
                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code




 Official Form 206H                                    Schedule H: Codebtors                                                     page ___ of ___
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                                             39
 Fill in this information to identify the case and this filing:


                       Shoreview Holding LLC
 Debtor Name __________________________________________________________________
                                               Western
 United States Bankruptcy Court for the: ______________________              Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):     25-10566
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         X Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         X Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         X Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         X Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         X Schedule H: Codebtors (Official Form 206H)

         
         X Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 05/23/2025______________                  _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Monte Lee-Wen
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Manager_________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
